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                                 Exhibit B
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                                     ATTACHMENT


     Aff. Para a h   Reason s for withholdin
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           Agent           Agent safety
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